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  1   Michael Jones, SBN 271574
      M. Jones & Associates, PC
  2   505 N. Tustin Ave, Ste 105
      Santa Ana, CA 92705
  3
      Telephone: 714-795-2346
  4   Facsimile: (888) 341-5213
      Email: mike@MJonesOC.com
  5
      Attorneys for Debtor
  6

  7

  8                               UNITED STATES BANKRUPTCY COURT
  9                                 CENTRAL DISTRICT OF CALIFORNIA
 10                                           SANTA ANA DIVISION

 11

 12    In Re:                                                  Case No. 6:22-bk-10891-RB
 13
       RVR GENERAL CONSTRUCTION, INC.                          In Chapter 11 Proceedings
 14

 15                                 Debtor(s).
                                                               SUPPLEMENTAL STATEMENT RE
 16
                                                               INSIDER COMPENSATION FOR
 17                                                            RAFAEL RIVAS, PRESIDENT OF
                                                               THE DEBTOR
 18

 19

 20
             COMES NOW THE DEBTOR RVR GENERAL CONSTRUCTION, INC. (“Debtor”),
 21

 22
      by and through their undersigned counsel, and provides this supplemental statement regarding

 23   the Notice of Setting/Increasing Insider Compensation for Rafael Rivas (“Rivas”), the Debtor’s
 24
      President, with the Court on 3/18/2022, said document being on the Docket as Document
 25
      Number 27 and hereinafter referred to as the Insider Compensation Notice.
 26

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             Supplemental Statement Re Insider Compensation for Rafael Rivas, President of the Debtor

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  1          The Insider Compensation Notice disclosed that Rivas is provided a company car for
  2   use. To provide further details on the company car, it is a Ford F-150 with the monthly payment
  3   of $934.31. The car is used intensively with the business as a work truck, but is also used by
  4   Rivas for his commuting to and from his home and work.
  5          The Insider Compensation Notice also stated that Rivas was due a pay raise from
  6   $70,000 a year to $100,000 per year, and noted that even this new rate of compensation was far
  7   below industry norms. To provide further disclosure, Rivas has not had an increase in his
  8   compensation for many years, and at the $70,000 a year rate, many of the workers and foremen
  9   were making more income that Rivas, the company president. The new rate of pay, $100,000
 10   per year, went into effect on 3/21/2022.
 11          As a convenience to the interested parties, the original Insider Compensation Notice is
 12   attached hereto.
 13

 14

 15   Dated this 15 April 2022.
 16

 17                                                       M Jones and Associates
                                                          Attorneys for Debtor
 18

 19
                                                          /s/ Michael Jones
 20                                                       Michael Jones
 21

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             Supplemental Statement Re Insider Compensation for Rafael Rivas, President of the Debtor

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                                              PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
505 N Tustin Ave, Ste 105
Santa Ana, CA 92705

A true and correct copy of the foregoing document entitled (specify): SUPPLEMENTAL STATEMENT RE INSIDER
COMPENSATION FOR RAFAEL RIVAS, PRESIDENT OF THE DEBTOR will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 15 April 2022    , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:



                                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 15 April 2022        , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.




                                                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 15 April 2022        , I served the following persons and/or
entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.



                                                                                      Service information continued on attached page



I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.



 15 April 2022                 Michael Jones                                             /s/ Michael Jones
 Date                          Printed Name                                              Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.




June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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ECF Service List

     Caroline Renee Djang (TR) caroline.djang@bbklaw.com,
      C190@ecfcbis.com;laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.c
      om
     Abram Feuerstein abram.s.feuerstein@usdoj.gov
     Todd S Garan ch11ecf@aldridgepite.com,
      TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
     Everett L Green everett.l.green@usdoj.gov
     Michael Jones mike@mjonesoc.com, 2651971420@filings.docketbird.com
     Cameron C Ridley Cameron.Ridley@usdoj.gov
     United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
                  Case 6:22-bk-10891-RB              Doc 34 Filed 04/15/22 Entered 04/15/22 17:50:31 Desc
Label Matrix for local noticing                      RVR General
                                                      Main       Construction, Inc.
                                                              Document          Page 8 of 8 Riverside Division
0973-6                                                17666 Randall Ave                                    3420 Twelfth Street,
Case 6:22-bk-10891-RB                                 Fontana, CA 92335-5950                               Riverside, CA 92501-3819
Central District of California
Riverside
Fri Apr 15 17:48:03 PDT 2022
AvalonBay Communities, Inc.                           CIM Group, Inc.                                      Cha Rang Kim
c/o CT Corporation, Reg Agent                         c/o AVRAHAM SHEMESH, Reg. Agent                      c/o Law Office of Eunice S. Hahn, APC
818 West 7th Street                                   6922 Hollywood Blvd, Ste 900                         3868 W Carson St, Ste 216
Los Angeles, CA 90017-3407                            Los Angeles, CA 90028-6129                           Torrance, CA 90503-6714


FRANCHISE TAX BOARD                                   (p)FORD MOTOR CREDIT COMPANY                         GARCIA & PHAN, A PROFESSIONAL LAW CORPORATIO
BANKRUPTCY SECTION MS A340                            P O BOX 62180                                        c/o Juan Garcia, Registered Agent
PO BOX 2952                                           COLORADO SPRINGS CO 80962-2180                       17011 Beach Blvd, Ste 900
SACRAMENTO CA 95812-2952                                                                                   Huntington Beach, CA 92647-5998


INTERNAL REVENUE SERVICE                              PNC Equipment Finance, LLC                           State of California Dept. of Industrial Rela
P.O. BOX 7346                                         655 Business Center Drive, Ste 250                   Labor Commissioner’s Office
PHILADELPHIA, PA 19101-7346                           Horsham, PA 19044-3448                               2 MacArthur Place, Ste 800
                                                                                                           Santa Ana, CA 92707-7703


United States Trustee (RS)                            Caroline Renee Djang (TR)                            Michael Jones
3801 University Avenue, Suite 720                     18101 Von Karman Ave., Suite 1000                    M Jones & Assoicates, PC
Riverside, CA 92501-3255                              Irvine, CA 92612-0164                                505 N Tustin Ave Ste 105
                                                                                                           Santa Ana, CA 92705-3735




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Ford Credit
National Bankruptcy Service Center
PO Box 62180
Colorado Springs, CO 80962




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                       End of Label Matrix
                                                      Mailable recipients      14
                                                      Bypassed recipients       1
                                                      Total                    15
